         Case 1:18-cv-04044-BCM Document 328 Filed 01/12/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                             :
U.S. BANK NATIONAL ASSOCIATION, solely in                    :                           1/12/2021
its capacity as Trustee,                                     :
                                                             :
                         Interpleader Plaintiff,             :
                                                             :
                        – against –                          :
                                                             :
TRIAXX ASSET MANAGEMENT LLC (f/k/a ICP                       :
ASSET MANAGEMENT LLC); TRIAXX PRIME CDO                      :      Case No. 1:18-cv-04044
2006-1, LTD.; TRIAXX PRIME CDO 2006-2, LTD.;                 :      (BCM)
TRIAXX PRIME CDO 2007-1, LTD.; PACIFIC                       :
INVESTMENT MANAGEMENT COMPANY, LLC;                          :
GOLDMAN SACHS & CO., LLC; PHOENIX REAL                       :
ESTATE SOLUTIONS LTD., and CEDE & CO.,                       :
                                                             :
                         Interpleader Defendants.            :
                                                             :


         [PROPOSED] ORDER DISMISSING THE TRUSTEE’S FIRST CLAIM
               FOR INTERPLEADER RELIEF SOLELY AS TO THE
                TRIAXX PRIME CDO 2006-1, LTD. TRANSACTION

       The First Claim For Interpleader Relief of U.S. Bank National Association, solely in its

capacity as Trustee, as it relates to the Triaxx Prime CDO 2006-1, Ltd. transaction is hereby

dismissed for lack of Article III jurisdiction without prejudice and without costs to any party.

For the avoidance of doubt, this dismissal shall have no impact on the First Claim For

Interpleader Relief as it relates to the Triaxx Prime CDO 2006-2, Ltd. transaction and the Triaxx

Prime CDO 2007-1, Ltd. transaction.



SO ORDERED:



Hon. Barbara Moses, U.S.M.J.
January 12, 2021
